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                 LY THIS UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION
ALLIANCE LAUNDRY SYSTEMS LLC,

            Plaintiff,
                                                 Case No. 23-cv-22130
      v.
                                                 (MCR-ZCB)
TRUDY ADAMS, JOHN “CLAY” WILLIAMS and
AUTARKIC HOLDINGS, INC. D/B/A
LAUNDRYLUX,

            Defendants.


TRUDY ADAMS, JOHN “CLAY” WILLIAMS,

            Defendants/Counterclaim
            Plaintiffs,

      v.

ALLIANCE LAUNDRY SYSTEMS LLC, GREG
REESE, MIKE HAND, and SAMANTHA BAKER,

            Plaintiff/Counterclaim
            Defendants/ Third Party
            Defendants.


    ALLIANCE LAUNDRY SYSTEMS LLC’S MOTION TO SEAL CERTAIN
  PREVIOUSLY FILED EXHIBITS SUPPORTING ALLIANCE’S RESPONSE IN
         OPPOSITION TO DEFENDANTS’ MOTION TO STRIKE

      Plaintiff Alliance Laundry Systems LLC (“Alliance”), pursuant to Fed. R.

Civ. P. 5.2(d), Local Rules 5.5(C), hereby moves this Court to file under seal

certain exhibits filed in connection with Alliance’s Response to Defendants’
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Motion to Strike the Expert Declaration of Mark Lanterman and Exclude

Lanterman’s Testimony (“Motion to Strike”).

        On Friday evening, March 28, 2025, Alliance filed its Response to

Defendant’s Motion to Strike (“Response”). ECF No. 175. The next morning, it

came to Alliance’s attention that Exhibits 6, 12, 13, and 15 to the Declaration of

Melinda Giftos were inadvertently publicly filed when they should have been

filed under seal. See ECF No. 176-6, -12, -13, and -15.

        In support of its Motion, Alliance states:

        1.    On April 9, 2024, at the joint request of the parties, the Court

granted as modified the parties’ Joint Motion for Stipulated Protective Order.

(ECF Nos. 32 and 33.)

        2.    The Protective Order (“Protective Order”) contemplates that

“highly confidential and proprietary information” produced in discovery will

require protection “from unauthorized or public disclosure.” (ECF No. 33 at p.

2.)

        3.    In its Amended Complaint (“Amended Complaint”), Alliance alleges

that Defendants took and are using Alliance’s “proprietary and con�idential

business information of Alliance, including (without limitation) price lists,

customer lists, customer quotes, customer communications, drawings, market



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analyses, customer demographic analyses, and other �inancial information

(‘Alliance Con�idential Information’).” (ECF No. 98 at ¶15.)

      4.    Alliance further alleges that some of the Alliance Con�idential

Information is protected as trade secret information, warranting secrecy. (Id.

at ¶¶16-18.)

      5.    Alliance’s allegations against Defendants include the use of Alliance

Con�idential Information to solicit business for Defendant Laundrylux, convert

business opportunities from Alliance to Laundrylux, and otherwise engage in

an intentional and concerted scheme to lure away Alliance’s current and

prospective customers, causing irreparable and ongoing injuries to Alliance.

(Id. at ¶¶22-55.)

      6.    Throughout the course of this litigation, the parties have produced

a signi�icant amount of business records and other documents that contain the

proprietary and highly con�idential business and �inancial information of

Alliance (as described above). Witnesses have also testi�ied at length regarding

this con�idential information and con�idential and proprietary business

practices and strategies, and �inancial information.

      7.    Federal Rule of Civil Procedure 26(c) allows the Court, with good

cause, to issue an order that would “require that a trade secret or other



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con�idential research, development or commercial information not be revealed

or be revealed only in a speci�ic way . . . .”

      8.     The Court, when deciding whether to seal documents that have a

presumption of public access, must balance the public’s interest in obtaining

the information against the [subject’s] interest in keeping the information

confidential. Chicago Trib. Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304,

1313 (11th Cir. 2001).

      9.     The information Alliance seeks to seal speci�ically identi�ies

customer information and sales information, proprietary and con�idential

business practices and strategies, internal policies and procedures of a

commercial business, �inancial information, etc. that comprises Alliance’s

Con�idential Information – the need to keep the secrecy of which is at the heart

of this litigation. These are categories of information that Alliance maintains as

highly con�idential and proprietary and has designated as “Con�idential” or

“Highly Con�idential – Attorneys Eyes Only”.

      10.    Exhibits 6, 12, and 13 (ECF No. 176-6, -12, and -13) are copies of

emails and attachments produced in discovery. These contain customer names

and contact information, among other details, that are a subset of Alliance’s

Con�idential Information. These are categories of information that Alliance

maintains as highly con�idential and proprietary.

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      11.   Exhibit 15 (ECF No. 176-15) is a compilation of emails produced by

Defendants that were identi�ied by Alliance’s expert as email activity or

communications by or between Defendants Adams and Williams. These emails,

which contain information such as customers and prospective customers, sales

materials, and other customer details, were designated “Con�idential” or

“Highly Con�idential – Attorneys’ Eyes Only” under the Protective Order.

      12.   Keeping    these    materials    under    seal   will     maintain   the

con�identiality of the information and further prevent Defendants as well as

other third parties from utilizing the information to their competitive bene�it,

causing further irreparable damage to Alliance.

      13.   This threat of irreparable harm outweighs the public’s interest in

the information, as this information is not a topic of public concern.

      WHEREFORE, Alliance respectfully requests that this Court enter an

order allowing Exhibits 6, 12, 13, and 15 to the Declaration of Melinda Giftos,

ECF No. 176-6, -12, -13, and -15, to be filed under seal.




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Dated: March 29, 2025

                               /s/ Melinda S. Giftos
                               Melinda S. Giftos, Florida Bar No. 0302960
                               Laura K. Higbee (admitted pro hac vice)
                               Angela B. Hardin (admitted pro hac vice)
                               Brendan R. Zee-Cheng (admitted pro hac vice)
                               Delia Maria Berrigan (admitted pro hac vice)
                               Gabrielle B. Adams (admitted pro hac vice)
                               Jason K. Smathers (admitted pro hac vice)
                               Paul D. Smith (admitted pro hac vice)
                               HUSCH BLACKWELL LLP
                               33 E. Main Street, Suite 300
                               Madison, Wisconsin 53703
                               Telephone: 608.234.6076
                               mindi.giftos@huschblackwell.com
                               laura.higbee@huschblackwell.com
                               angela.harden@huschblackwell.com
                               brendan.zee-cheng@huschblackwell.com
                               delia.berrigan@huschblackwell.com
                               gabrielle.adams@huschblackwell.com
                               jason.smathers@huschblackwell.com
                               paul.smith@huschblackwell.com


                               Attorneys for Plaintiff, Alliance Laundry
                               Systems LLC and Third-Party Defendants, Greg
                               Reese, Mike Hand and Samantha Baker




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         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)
      I certify that this motion and memorandum has 760 words, excluding

the case caption, signature block, and certificate of service, as calculated by

the word processing system used to create this document.



                                                    /s/ Melinda S. Giftos




                           CERTIFICATE OF SERVICE
      I certify that on March 29, 2025, a true and correct copy of the foregoing

was submitted to the Clerk of the Court using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.



                                                    /s/ Melinda S. Giftos




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